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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                     CASE NO. 14‐21385‐CIV‐LENARD/GOODMAN

  WREAL, LLC,

        Plaintiff,

  v.

  AMAZON.COM, INC.,

        Defendant.
                                /




                     POST‐HEARING ADMINISTRATIVE ORDER




        The parties filed a Joint Notice of Hearing regarding three discovery issues [ECF

  No. 149]. The Court held a discovery hearing to resolve these issues on May 22, 2015.

  The Undersigned hereby ORDERS that:1

        1.     The Undersigned denies without prejudice Plaintiff’s request to compel

  the continued 30(b)(6) deposition of Amazon concerning seven topics (topics 1, 2, 3, 4, 8,

  9, and 10) listed in Wreal’s Notice of Taking Continued Videotaped Deposition of

  Amazon.com, Inc. Plaintiff previously took a 30(b)(6) deposition of Amazon regarding

  the seven topics and had no further questions at the end of the deposition. At the


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        If any party appeals this Order to the District Court, then the transcript of the
  hearing will need to be ordered, as it outlines the Undersigned’s reasoning.
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  conclusion of the deposition, Plaintiff’s counsel did not indicate that the deposition was

  being temporarily suspended or that the party was unduly prejudiced by the late

  disclosure of documents. The Undersigned is not going to provide Plaintiff’s counsel

  with an opportunity to redo the deposition. Further, the 30(b)(6) deposition of Amazon

  was taken in November 2014, and Plaintiff waited until May 2015, shortly before the

  discovery cutoff, to raise this discovery issue. The Undersigned denies the request

  without prejudice in the event Amazon produces additional documents that relate to

  the previously listed topics.

         2.     The Undersigned grants Plaintiff’s request to compel the 30(b)(6)

  deposition of Amazon concerning two topics (topics 1 and 2) listed in Wreal’s Re‐Notice

  of Taking 30(b)(6) deposition of Amazon.com, Inc. The Undersigned is allowing the

  deposition to go forward in order for Wreal to attain facts. However, the topics as

  currently phrased are too broad and arguably encompass areas of privilege.

  Accordingly, Plaintiff’s counsel will reframe the two topics and include the following

  introduction: “The facts which relate to Amazon’s stated position, in its United States

  Patent and Trademark Office challenge, that . . . ” Amazon’s designated witness must

  be prepared to provide factual details, not merely broad, conclusory factual summaries.

         3.     The Undersigned grants Defendant’s request to compel the deposition of

  Estefano Isaias, Wreal’s CEO and sole investor. Given the size and close nature of the




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  company, the Court does not find that the deposition of Wreal’s CEO could be classified

  as the typical apex deposition.

          DONE and ORDERED, in Chambers, in Miami, Florida, this 27th day of May,

  2015.




  Copies furnished to:
  Judge Joan A. Lenard
  All Counsel of Record




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